                                                                                                                                                                 Claims Register Report by Number
                                                             Case:18-10274-SDB Doc#:1002 Filed:07/23/21 Entered:07/23/21 15:31:41                                                                                                                     Page:1 of 6
               Claim                                                                                                                                                                                                                                                                                                             Debtor
  Date Filed    No.                 Name                         Creditor Notice Name                      Address 1                         Address 2                     Address 3                  City         State      Zip       Country   Claim Amount         Nature       A R   A/R Date          Debtor Name          Number

  03/13/2018    1      Veenschoten & Company, Inc.        Jan Hunter Veenschoten & Co., Inc.   3 Riverchase Office Plaza, Ste 120                                                           Birmingham        AL           35244                    $152,010.00 General Unsecured                    Fibrant, LLC                18-10274
                       American Express Travel Related
  03/15/2018    2      Services Company, Inc.             Becket and Lee LLP                   PO Box 3001                                                                                  Malvern           PA           19355-0701                   $679.00 General Unsecured                    Fibrant, LLC                18-10274
                                                                                               1358 W NEWPORT CENTER
  03/19/2018    3      HOERBIGER SERVICE INC                                                   DRIVE                                                                                        DEERFIELD BEACH   FL           33442                   EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
                       Environmental Operating Solutions
  03/23/2018    4      Inc.                                                                    160 Macarthur Blvd, Suite 6                                                                  Bourne            MA           02532                      $8,973.90 General Unsecured                    Fibrant, LLC                18-10274
                       Covanta Environmental Solutions
  03/26/2018    5      LLC.                              Attn Christian Hobbis                 Covanta Energy LLC                   445 South Street                                        Morristown        NJ           07960                      $1,989.83 General Unsecured                    Fibrant, LLC                18-10274
                                                                                                                                                                                                                           31193−494
  03/26/2018    6      IntelliTrans, LLC                                                       PO Box 934941                                                                                Atlanta           GA           1                       EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
  03/20/2018    7      Safety-Kleen/CleanHarbors                                               600 Longwater Drive                                                                          Norwell           MA           02061                     $4,611.00 General Unsecured                     Fibrant, LLC                18-10274
                       Department of the Treasury -
  04/12/2018    8      Internal Revenue Service           Internal Revenue Service             P.O. Box 7346                                                                                Philadelphia      PA           19101-7346              EXPUNGED Priority                                 Fibrant, LLC                18-10274
                       GreatAmerica Financial Services
  04/13/2018    9      Corporation                        Attn Peggy Upton                     PO Box 609                                                                                   Cedar Rapids      IA           52406                      $2,619.23 General Unsecured                    Fibrant, LLC                18-10274
                       Department of the Treasury -                                                                                                                                                                                                                                                  Georgia Monomers
  04/16/2018    10     Internal Revenue Service           Internal Revenue Service             P.O. Box 7346                                                                                Philadelphia      PA           19101-7346              EXPUNGED General Unsecured                        Company, LLC                18-10277

  04/16/2018    11     James W. Price, Jr.                                                     563 Plantation Dr                                                                            North Augusta     SC           29841                   EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
                       Chevron Phillips Chemical
  04/16/2018    12     Company LP                                                              10001 Six Pines Drive                                                                        The Woodlands     TX           77386                  $5,930,004.46 General Unsecured                    Fibrant, LLC                18-10274
                       Chevron Phillips Chemical
  04/16/2018    12     Company LP                                                              10001 Six Pines Drive                                                                        The Woodlands     TX           77386                          $0.00 Secured                              Fibrant, LLC                18-10274
                       Department of the Treasury -
  04/17/2018    13     Internal Revenue Service           Internal Revenue Service             P.O. Box 7346                                                                                Philadelphia      PA           19101-7346              EXPUNGED Priority                                 Fibrant South Center, LLC   18-10275
                       Department of the Treasury -
  04/17/2018    13     Internal Revenue Service           Internal Revenue Service             P.O. Box 7346                                                                                Philadelphia      PA           19101-7346              EXPUNGED General Unsecured                        Fibrant South Center, LLC   18-10275
                       Richmond County Tax
  04/18/2018    14     Commissioner                       Steven B. Kendrick                   535 Telfair St., Room 100                                                                    Augusta           GA           30901                   EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
                       Richmond County Tax
  04/18/2018    15     Commissioner                       Steven B. Kendrick                   535 Telfair St., Room 100                                                                    Augusta           GA           30901                   EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
  04/23/2018    16     Geosyntec Consultants, Inc.        Christopher Bennett, Esq.            1111 Broadway Floor 6                                                                        Oakland           CA           94607                     $7,393.86 General Unsecured                     Fibrant, LLC                18-10274
                       Richmond County Tax
  04/30/2018    17     Commissioner                                                            535 Telfair Street, Room 100                                                                 Augusta           GA           30901                          $0.00 General Unsecured A       04/18/2018 Fibrant, LLC                18-10274
                       Richmond County Tax
  04/30/2018    17     Commissioner                                                            535 Telfair Street, Room 100                                                                 Augusta           GA           30901                    $590,599.20 Priority            A     04/18/2018 Fibrant, LLC                18-10274
                       ADVANCED DISPOSAL
  05/02/2018    18     SERVICES                           ADVANCED DISPOSAL                    5734 COLUMBIA ROAD                                                                           GROVETOWN         GA           30813                      $7,132.69 General Unsecured                    Fibrant, LLC                18-10274
                       Department of the Treasury -
  05/08/2018    19     Internal Revenue Service           Internal Revenue Service             P.O. Box 7346                                                                                Philadelphia      PA           19101-7346              EXPUNGED Priority             A        04/12/2018 Fibrant, LLC                18-10274
  05/17/2018    20     Windstream                         Attn Kathy Storla                    929 Marthas Way                                                                              Hiawatha          IA           52233                     $4,158.28 General Unsecured                     Fibrant, LLC                18-10274
  05/23/2018    21     Control Southern, Inc.             Elaine Decker                        3850 Lakefield Drive                                                                         Suwanee           GA           30004                   $114,439.86 General Unsecured                     Fibrant, LLC                18-10274
                       Department of the Treasury -
  05/29/2018    22     Internal Revenue Service           Internal Revenue Service             P.O. Box 7346                                                                                Philadelphia      PA           19101-7346                 $1,381.52 Priority            A     04/12/2018 Fibrant, LLC                18-10274
                       Department of the Treasury -                                                                                                                                                                                                                                                  Georgia Monomers
  05/29/2018    23     Internal Revenue Service           Internal Revenue Service             P.O. Box 7346                                                                                Philadelphia      PA           19101-7346                 $1,087.03 General Unsecured A       04/16/2018 Company, LLC                18-10277
                       Department of the Treasury -
  05/29/2018    24     Internal Revenue Service           Internal Revenue Service             P.O. Box 7346                                                                                Philadelphia      PA           19101-7346                     $0.00 General Unsecured A       04/17/2018 Fibrant South Center, LLC   18-10275

  05/25/2018    25     Cranston Engineering Group, P.C.                                        452 Ellis Street                                                                             Augusta           GA           30901                      $5,000.00 General Unsecured                    Fibrant, LLC                18-10274
  05/30/2018    26     Flint Hills Resources, LP          Arnold Lenz                          4111 E 37th Street North                                                                     Wichita           KS           67220                    $713,111.80 General Unsecured                    Fibrant, LLC                18-10274
                       Georgia Department of Natural
                       Resources, Environmental                                                2 Martin Luther King Jr. Drive,
  05/30/2018    27     Protection Division                Amy Mussler                          Suite 1054 East                                                                              Atlanta           GA           30334                  $2,126,200.00 Secured                              Fibrant, LLC                18-10274
                       Georgia Department of Natural
                       Resources, Environmental                                                2 Martin Luther King Jr. Drive,
  05/30/2018    28     Protection Division                Amy Mussler                          Suite 1054 East                                                                              Atlanta           GA           30334                          $0.00 General Unsecured                    Fibrant, LLC                18-10274
  05/30/2018    29     Koch Rail, LLC                     Arnold Lenz                          4111 E 37th Street North                                                                     Wichita           KS           67220                    $125,400.00 General Unsecured                    Fibrant, LLC                18-10274
                                                          c/o Courtney McCormick
  05/30/2018    30     Georgia Power Company              McGuireWoods, LLP                    50 North Laura Street, Suite 3300                                                            Jacksonville      FL           32202                    $124,945.46 General Unsecured                    Fibrant, LLC                18-10274
  06/06/2018    31     SOUTHEAST RAILCAR INC              TERRI SATTERFIELD                    PO BOX 1204                                                                                  AMERICUS          GA           31709                     $27,237.63 General Unsecured                    Fibrant, LLC                18-10274

  06/06/2018    32     FIBERLITE TECHNOLOGIES INC                                              3605 E. 25TH STREET                                                                          JOPLIN            MO           64804                          $0.00 General Unsecured                    Fibrant, LLC                18-10274

  06/07/2018    33     HORNE LABEL & PRINTING LLC SUZANNE HORNE                                312 S CHERRY RD                                                                              ROCK HILL         SC           29732                          $0.00 Admin Priority                       Fibrant, LLC                18-10274

  06/07/2018    33     HORNE LABEL & PRINTING LLC SUZANNE HORNE                                312 S CHERRY RD                                                                              ROCK HILL         SC           29732                    $30,704.66 General Unsecured                     Fibrant, LLC                18-10274
  06/12/2018    34     BAIN LARRY R                                                            4655 BRITTANY DRIVE                                                                          EVANS             GA           30809                   EXPUNGED Priority                                 Fibrant, LLC                18-10274
                                                                                               c/o Smith, Gambrell and Russell,     1230 Peachtree Street, NE,
  06/12/2018    35     BMSI, Inc.                         Attn Brian P. Hall, Esq.             LLP                                  Suite 3100                                              Atlanta           GA           30309                    $323,695.24 General Unsecured                    Fibrant, LLC                18-10274
  06/12/2018    36     GRIFFIN GEAR INC                                                        131 RAILROAD STREET                                                                          ROEBUCK           SC           29376                     $43,050.00 General Unsecured                    Fibrant, LLC                18-10274
                                                                                               112 SOUTH MAIN STREET
  06/14/2018    37     CENTURY 3 ENGINEERING LLC                                               SUITE C                                                                                      GREER             SC           29650                    $19,473.89 General Unsecured                     Fibrant, LLC                18-10274
  06/12/2018    38     BELL DAVID J              DAVID BELL                                    256 CHURCH ROAD                                                                              BEECH ISLAND      SC           29842                   EXPUNGED Priority             A                   Fibrant, LLC                18-10274
  06/15/2018    39     IDG USA LLC               Attn TJ Gilmore                               2100 The Oaks Parkway                PO Box 1127                                             Belmont           NC           28012                       $897.07 General Unsecured                     Fibrant, LLC                18-10274
                                                                                               460 GEES MILL BUSINESS
  06/18/2018    40     HAVER & BOECKER USA                                                     COURT                                                                                        CONYERS           GA           30013                      $1,513.32 General Unsecured                    Fibrant, LLC                18-10274
                       Great Northern Insurance
  06/18/2018    41     Company                            c/o CHUBB                            436 Walnut Street                                                                            Philadelphia      PA           19106                   EXPUNGED General Unsecured                        Fibrant, LLC                18-10274


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             Claim                                                                                                                                                                                                                                                                                                        Debtor
  Date Filed  No.                Name                          Creditor Notice Name                       Address 1                        Address 2                    Address 3              City        State       Zip        Country     Claim Amount       Nature    A R   A/R Date          Debtor Name            Number
  06/11/2018  42   Christopher Roland                                                         2275 Darlington Dr                                                                       Augusta           GA        30904                        EXPUNGED General Unsecured                  Fibrant, LLC                 18-10274
  06/12/2018  43   EADY JEMERAL R                       JEMERAL EADY                          507 ARTMUS ST                                                                            AUGUSTA           GA        30901                        EXPUNGED Priority                           Fibrant, LLC                 18-10274
                   ALLEYKAT EQUIPMENT &
  06/19/2018  44   PARTS                                                                      113 SOUTH RAILROAD STREET                                                                MIDVILLE          GA        30441                        EXPUNGED General Unsecured                  Fibrant, LLC                 18-10274
                   DE LAGE LANDEN FINANCIAL                                                   1111 OLD EAGLE SCHOOL
  06/18/2018  45   SERVICES                             P. KAHLER                             ROAD                                                                                     WAYNE             PA        19087                          $4,710.32 Secured                         Fibrant, LLC                 18-10274
  06/21/2018  46   EZELL COLLEEN L                                                            409 RABBIT RD                                                                            JACKSON           SC        29831                        EXPUNGED General Unsecured                  Fibrant, LLC                 18-10274

  06/25/2018   47   ADS SECURITY LP                                                           3001 ARMORY DRIVE SUITE 100                                                              NASHVILLE         TN        37204                           $790.47 General Unsecured                Fibrant, LLC                 18-10274
  06/27/2018   48   LONG WILLIAM K                                                            105 LONG RD                                                                              SALUDA            SC        29138                        EXPUNGED General Unsecured                  Fibrant, LLC                 18-10274
                                                        Metz Lewis Brodman Must OKeefe
  06/29/2018   49   Rawson, Inc.                        LLC                                   535 Smithfield Street, Suite 800                                                         Pittsburgh        PA        15222                         $64,006.50 General Unsecured               Fibrant, LLC                 18-10274
                    THOMPSON INDUSTRIAL
  07/02/2018   50   SERVICES LLC                                                              104 N MAIN STREET                                                                        SUMTER            SC        29150                         $20,944.63 General Unsecured               Fibrant, LLC                 18-10274
                    PAYNELESS ENTERPRISES
  07/08/2018   51   LLC                                                                       4218 GREEN IVEY LANE                                                                     MARTINEZ          GA        30907                           $2,681.25 General Unsecured              Fibrant, LLC                 18-10274
                    Mobile Mini Tank & Pump                                                                                                                                                                        85008−692
  07/10/2018   52   Solutions                           Attn Legal Dept                       4646 E. Van Buren St., Suite 400                                                         Phoenix           AZ        7                              $1,043.28 General Unsecured               Fibrant, LLC                 18-10274
  07/17/2018   53   WILLIAMS RONALD H                                                         1024 TODD AVENUE                                                                         NORTH AUGUSTA     SC        29841                        EXPUNGED Priority                           Fibrant, LLC                 18-10274
                    West Health Advocate Solutions,
  07/23/2018   54   Inc.                                                                      11808 Miracle Hills Drive                                                                Omaha             NE        68154                        EXPUNGED General Unsecured                  Fibrant, LLC                 18-10274
                    Austin Maintenance &
  07/20/2018   55   Construction, Inc.                  Janet Ayyad Ismail                    3535 Travis Street, Suite 300                                                            Dallas            TX        75204                          $2,784.41 General Unsecured               Fibrant, LLC                 18-10274
  07/20/2018   56   SAPP JR RALPH H                                                           1823 COURTNEY DR                                                                         NORTH AUGUSTA     SC        29841                        EXPUNGED General Unsecured                  Fibrant, LLC                 18-10274
                    Georgia Department of Natural
                    Resources, Environmental                                                  2 Martin Luther King Jr. Drive,
  07/23/2018   57   Protection Division                 Amy Mussler                           Suite 1054 East                                                                          Atlanta           GA        30334                     UNLIQUIDATED General Unsecured                 Fibrant, LLC                 18-10274
  07/23/2018   58   CONNAUGHTON GEORGE E                                                      3800 LAUREL STREET                                                                       ST AUGUSTINE      FL        32084                        EXPUNGED Priority                           Fibrant, LLC                 18-10274
  07/25/2018   59   BEAL BILLY M                                                              3740 INVERNESS WAY                                                                       MARTINEZ          GA        30907                        EXPUNGED General Unsecured                  Fibrant, LLC                 18-10274
  07/25/2018   60   AdvanSix, Inc.                      Attn John M. Quitmeyer                300 Kimball Drive Suite 101                                                              Parsippany        NJ        07054                          $1,015.54 General Unsecured               Fibrant, LLC                 18-10274
                    AUGUSTA CHILLER SERVICE
  07/25/2018   61   INC                                                                       240 CAMILLA AVE                                                                          AUGUSTA           GA        30907                           $4,317.00 General Unsecured              Fibrant, LLC                 18-10274
  07/26/2018   62   GARRETT ALRENA                                                            2458 DUBLIN DRIVE                                                                        AUGUSTA           GA        30906                        EXPUNGED Priority                           Fibrant, LLC                 18-10274
  07/26/2018   63   Linde Gas North America, LLC        Attn Robert Griffin                   200 Somerset Corporate Blvd.                                                             Bridgewater       NJ        08807                       $2,328,459.20 General Unsecured              Fibrant, LLC                 18-10274
                    Chemtrade Chemicals US LLC
                    and Chemtrade Chemicals
  07/27/2018   64   Corporation                         Christopher A. Ward                   222 Delaware Avenue, Suite 1101                                                          Wilmington        DE        19801                      $16,223,767.77 General Unsecured              Fibrant, LLC                 18-10274
                    Betty Baxley, Individually and as
                    Personal Representative of the
  07/27/2018   65   Estate of Malcolm M. Baxley         c/o Bealsey Allen Law Firm            Post Office Box 4160                                                                     Montgomery        AL        36103-4160                   $500,000.00 General Unsecured               Fibrant, LLC                 18-10274
  07/30/2018   66   Fibrant B.V.                        Adam J. Goldberg                      885 Third Avenue                                                                         New York          NY        10022-4834                UNLIQUIDATED Secured                           Fibrant, LLC                 18-10274
  07/30/2018   66   Fibrant B.V.                        Adam J. Goldberg                      885 Third Avenue                                                                         New York          NY        10022-4834                UNLIQUIDATED General Unsecured                 Fibrant, LLC                 18-10274
  07/30/2018   67   Chemicalnvest Holding B.V.          Adam J. Goldberg                      885 Third Avenue                                                                         New York          NY        10022-4834                UNLIQUIDATED Secured                           Fibrant, LLC                 18-10274
  07/30/2018   67   Chemicalnvest Holding B.V.          Adam J. Goldberg                      885 Third Avenue                                                                         New York          NY        10022-4834                UNLIQUIDATED General Unsecured                 Fibrant, LLC                 18-10274
  07/30/2018   68   CAP II B.V.                         Adam Goldberg                         885 Third Avenue                                                                         New York          NY        10022-4834                UNLIQUIDATED Secured                           Fibrant, LLC                 18-10274
  07/30/2018   68   CAP II B.V.                         Adam Goldberg                         885 Third Avenue                                                                         New York          NY        10022-4834                UNLIQUIDATED General Unsecured                 Fibrant, LLC                 18-10274
  07/30/2018   69   CAP II B.V.                         Adam Goldberg                         885 Third Avenue                                                                         New York          NY        10022-4834                UNLIQUIDATED Secured                           Fibrant South Center, LLC    18-10275
  07/30/2018   69   CAP II B.V.                         Adam Goldberg                         885 Third Avenue                                                                         New York          NY        10022-4834                UNLIQUIDATED General Unsecured                 Fibrant South Center, LLC    18-10275
                                                                                                                                                                                                                                                                                            Evergreen Nylon Recycling,
  07/30/2018   70   CAP II B.V.                         Adam Goldberg                         885 Third Avenue                                                                         New York          NY        10022-4834                UNLIQUIDATED Secured                           LLC                          18-10276
                                                                                                                                                                                                                                                                                            Evergreen Nylon Recycling,
  07/30/2018   70   CAP II B.V.                         Adam Goldberg                         885 Third Avenue                                                                         New York          NY        10022-4834                UNLIQUIDATED General Unsecured                 LLC                          18-10276
                                                                                                                                                                                                                                                                                            Georgia Monomers
  07/30/2018   71   CAP II B.V.                         Adam Goldberg                         885 Third Avenue                                                                         New York          NY        10022-4834                UNLIQUIDATED Secured                           Company, LLC                 18-10277
                                                                                                                                                                                                                                                                                            Georgia Monomers
  07/30/2018   71   CAP II B.V.                         Adam Goldberg                         885 Third Avenue                                                                         New York          NY        10022-4834                UNLIQUIDATED General Unsecured                 Company, LLC                 18-10277
                    MARK CLARK RICHARD AKA
  07/27/2018   72   RICHARD MARK CLARK                                                        3926 OLD TRAIL ROAD                                                                      MARTINEZ          GA        30907                        EXPUNGED General Unsecured                  Fibrant, LLC                 18-10274
  07/27/2018   73   GATX Corporation                    Brian Glassberg                       233 S Wacker Dr                                                                          Chicago           IL        60606                     UNLIQUIDATED General Unsecured                 Fibrant, LLC                 18-10274
  07/30/2018   74   Hoerbiger Service Inc                                                     1348 W. Newport Ctr Dr                                                                   Deerfield Beach   FL        33442                         $28,526.48 General Unsecured               Fibrant, LLC                 18-10274
  07/31/2018   75   CHERRY BEKAERT                      BONNIE COX                            1029 GREENE STREET                                                                       AUGUSTA           GA        30901                         $14,863.33 General Unsecured               Fibrant, LLC                 18-10274

  07/27/2018   76   Praxair Inc                         Attn Catherine E.M. Kortlandt, Esq.   Law Dept., Praxair, Inc.           10 Riverview Drive                                    Danbury           CT        06810                                W/D General Unsecured               Fibrant, LLC                 18-10274
  07/27/2018   77   GATX Corporation                    Brian Glassberg                       233 S Wacker Dr                                                                          Chicago           IL        60606                       $4,729,900.00 General Unsecured              Fibrant, LLC                 18-10274
  07/31/2018   78   BOBBY OSTEEN                                                              224 BAY TREE COURT                                                                       AIKEN             SC        29803                        EXPUNGED Priority                           Fibrant, LLC                 18-10274
                                                                                              AVENUE HERRMANN -
  07/31/2018   79   MARSH SA/NV                                                               DEBROUX 2                                                                                BRUSSELS                    1160         BELGIUM         EXPUNGED General Unsecured                  Fibrant, LLC                 18-10274
  07/31/2018   80   DEGENNARO PAUL F                                                          114 FOX TRAIL DRIVE                                                                      NORTH AUGUSTA     SC        29860                        EXPUNGED Priority                           Fibrant, LLC                 18-10274

  07/30/2018   81   CSX Transportation, Inc.            c/o Courtney A. McCormick             McGuireWoods LLP                   50 N. Laura Street, Suite 3300                        Jacksonville      FL        32210                           $2,089.56 General Unsecured              Fibrant, LLC                 18-10274
  07/30/2018   82   Charles H. Holley, Jr.              c/o Charles W. Wills, Esq.            PO Box 1620                                                                              Thomson           GA        30824                        EXPUNGED General Unsecured                  Fibrant, LLC                 18-10274
  07/29/2018   83   Brent B. Mullis                     c/o Charles W. Wills, Esq.            PO Box 1620                                                                              Thomson           GA        30824                        EXPUNGED General Unsecured                  Fibrant, LLC                 18-10274
  07/31/2018   84   Ampleton Group Limited              Ampleton Group Ltd                    Priors Court                       Churchmere Road                  Sutton Courtenay     NR Abingdon                 OX14 4AQ United Kingdom     $3,363,026.00 General Unsecured              Fibrant, LLC                 18-10274
                    Georgia Self-Insurers Guaranty                                            303 Peachtree Street NE Suite
  07/27/2018   85   Trust Fund                                                                3500                                                                                     Atlanta           GA        30308                        EXPUNGED Secured                            Fibrant, LLC                 18-10274
                    Georgia Self-Insurers Guaranty                                            303 Peachtree Street NE Suite
  07/27/2018   85   Trust Fund                                                                3500                                                                                     Atlanta           GA        30308                        EXPUNGED General Unsecured                  Fibrant, LLC                 18-10274
                    BLUE RIDGE RAILCAR REPAIR
  07/31/2018   86   LLC                                 ERIC W. CROSSMAN                      10060 SKINNER LAKE DRIVE                                                                 JACKSONVILLE      FL        32246                          $4,211.19 General Unsecured               Fibrant, LLC                 18-10274
  07/30/2018   87   Augusta Sulfate Company, LLC        c/o Robert L. Porter                  319 E. Ashley Street                                                                     Douglas           GA        31533                     UNLIQUIDATED Secured                           Fibrant, LLC                 18-10274
  07/30/2018   87   Augusta Sulfate Company, LLC        c/o Robert L. Porter                  319 E. Ashley Street                                                                     Douglas           GA        31533                     UNLIQUIDATED General Unsecured                 Fibrant, LLC                 18-10274


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             Claim                                                                                                                                                                                                                                                                                        Debtor
  Date Filed  No.                 Name                         Creditor Notice Name                   Address 1                 Address 2             Address 3              City        State       Zip      Country    Claim Amount       Nature          A R   A/R Date          Debtor Name           Number
  07/31/2018  88   BRINSON GENEVA L                                                          2067 WHARTON DRIVE                                                        AUGUSTA         GA        30904                     EXPUNGED Priority                                 Fibrant, LLC                18-10274
                   National Union Fire Insurance
                   Company of Pittsburgh, PA on
                   Behalf of the Entities Listed on
  07/30/2018  89   Exhibit A                            Kevin Larner                         80 Pine Street, 13th Floor                                                New York        NY        10005                     EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
                   SMBC Rail Services LLC, on
                   Behalf of American Railcar
  07/31/2018  90   Leasing LLC                          c/o Katy Drechsel, Chief Legal Officer 5600 Mexico Road, Suite 2                                               St. Peters      MO        63376                    $1,650,000.00 General Unsecured                    Fibrant, LLC               18-10274
                                                                                                                                                                                                                                                                             Evergreen Nylon Recycling,
  07/31/2018    91    PCS Nitrogen Fertilizer, L.P.     c/o Brian E. Johnson                 1101 Skokie Boulevard, Suite 400                                          Northbrook      IL        60062                           $0.00 General Unsecured                     LLC                        18-10276

  07/31/2018    92    PCS Nitrogen Fertilizer, L.P.     c/o Brian E. Johnson                 1101 Skokie Boulevard, Suite 400                                          Northbrook      IL        60062                           $0.00 General Unsecured                     Fibrant South Center, LLC   18-10275

  07/31/2018    93    PCS Nitrogen Fertilizer, L.P.     c/o Brian E. Johnson                 1101 Skokie Boulevard, Suite 400                                          Northbrook      IL        60062                           $0.00 General Unsecured                     Fibrant, LLC                18-10274

  07/31/2018    94    PCS Nitrogen, Inc.                c/o Brian E. Johnson                 1101 Skokie Boulevard, Suite 400                                          Northbrook      IL        60062                     $606,253.76 General Unsecured                     Fibrant, LLC                18-10274
                                                                                                                                                                                                                                                                             Georgia Monomers
  07/31/2018    95    PCS Nitrogen Fertilizer, L.P.     c/o Brian E. Johnson                 1101 Skokie Boulevard, Suite 400                                          Northbrook      IL        60062                           $0.00 General Unsecured                     Company, LLC                18-10277
                                                                                                                                                                                                                                                                             Georgia Monomers
  07/31/2018    96    PCS Nitrogen, Inc.                c/o Brian E. Johnson                 1101 Skokie Boulevard, Suite 400                                          Northbrook      IL        60062                           $0.00 General Unsecured                     Company, LLC                18-10277

  07/31/2018    97    PCS Nitrogen, Inc.                c/o Brian E. Johnson                 1101 Skokie Boulevard, Suite 400                                          Northbrook      IL        60062                           $0.00 General Unsecured                     Fibrant South Center, LLC 18-10275
                                                                                                                                                                                                                                                                             Evergreen Nylon Recycling,
  07/31/2018    98    PCS Nitrogen, Inc.                c/o Brian E. Johnson                 1101 Skokie Boulevard, Suite 400                                          Northbrook      IL        60062                           $0.00 General Unsecured                     LLC                        18-10276

  07/31/2018    99    Arch Specialty Insurance Company Francine Petrosino, Legal Assistant   210 Hudson Street, Suite 300                                              Jersey City     NJ        07311                     EXPUNGED Admin Priority                           Fibrant, LLC                18-10274
                      National Union Fire Insurance
                      Company of Pittsburgh, Pa. on
                      Behalf of the Entities Listed on Kevin Larner, Authorized
  08/01/2018   100    Exhibit A                        Representative                        80 Pine Street, 13th Floor                                                New York        NY        10005                  UNLIQUIDATED General Unsecured A          07/30/2018 Fibrant, LLC                18-10274
                                                                                             527 RICHMOND HILL RD W APT
  08/02/2018   101   MCGAHEE MICHAEL K                  MICHAEL K MCGAHEE                    C-1                                                                       AUGUSTA         GA        30906                     EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
  08/03/2018   102   R GLENN HOFFMAN                                                         327 WILLIAM STREET                                                        SOMERVILLE      NJ        08876                     EXPUNGED Secured                                  Fibrant, LLC                18-10274
  08/03/2018   102   R GLENN HOFFMAN                                                         327 WILLIAM STREET                                                        SOMERVILLE      NJ        08876                     EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
  08/11/2018   103   ADAMS JAMES M                                                           5731 SPRING CREEK RD                                                      GROVETOWN       GA        30813                     EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
                     Department of the Treasury -                                                                                                                                                                                                                            Georgia Monomers
  10/18/2018   104   Internal Revenue Service           Internal Revenue Service             P.O. Box 7346                                                             Philadelphia    PA        19101-7346                  $3,712.03 General Unsecured A        04/16/2018 Company, LLC                18-10277
  02/03/2019   105   David Mathews                                                           109 Yaun Road                                                             North Augusta   SC        29841                      $47,000.00 General Unsecured                     Fibrant, LLC                18-10274
  03/25/2019   106   STONESTREET THOMAS A                                                    197 MARKS WALDEN ROAD                                                     BLYTHE          GA        30805                  UNLIQUIDATED Priority                                Fibrant, LLC                18-10274
                     Department of Treasury- Internal
  04/25/2019   107   Revenue Service                                                         P O Box 7346                                                              Philadelphia    PA        19101-7346                  $1,381.52 General Unsecured A        05/29/2018 Fibrant, LLC                18-10274
                     Department of Treasury- Internal
  04/25/2019   107   Revenue Service                                                         P O Box 7346                                                              Philadelphia    PA        19101-7346                      $0.00 Priority             A     05/29/2018 Fibrant, LLC                18-10274
                     Department of the Treasury -
  04/24/2019   108   Internal Revenue Service           Internal Revenue Service             P.O. Box 7346                                                             Philadelphia    PA        19101-7346                      $0.00 General Unsecured A        04/12/2018 Fibrant, LLC                18-10274
                     Department of the Treasury -
  05/22/2019   109   Internal Revenue Service           Internal Revenue Service             P.O. Box 7346                                                             Philadelphia    PA        19101-7346                $129,351.72 Priority             A     04/12/2018 Fibrant, LLC                18-10274
                     Department of the Treasury -
  05/22/2019   109   Internal Revenue Service           Internal Revenue Service             P.O. Box 7346                                                             Philadelphia    PA        19101-7346                 $12,396.72 General Unsecured A        04/12/2018 Fibrant, LLC                18-10274
                     Department of the Treasury -
  07/16/2019   110   Internal Revenue Service           Internal Revenue Service             P.O. Box 7346                                                             Philadelphia    PA        19101-7346                      $0.00 General Unsecured A        04/12/2018 Fibrant, LLC                18-10274




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Case No. 18-10274 (SDB)                                                                                                                               Page 3 of 3
                                                                                                                                                            Claims Register Report by Name
                                                           Case:18-10274-SDB Doc#:1002 Filed:07/23/21 Entered:07/23/21 15:31:41                                                                                                                Page:4 of 6
               Claim                                                                                                                                                                                                                                                                                                      Debtor
  Date Filed    No.           Name                             Creditor Notice Name                   Address 1                         Address 2                     Address 3             City        State       Zip      Country       Claim Amount    Nature       A R       A/R Date          Debtor Name           Number
  08/11/2018    103 ADAMS JAMES M                                                           5731 SPRING CREEK RD                                                                      GROVETOWN       GA        30813                        EXPUNGED General Unsecured                      Fibrant, LLC                18-10274

  06/25/2018    47   ADS SECURITY LP                                                        3001 ARMORY DRIVE SUITE 100                                                               NASHVILLE       TN        37204                            $790.47 General Unsecured                   Fibrant, LLC                18-10274
                     ADVANCED DISPOSAL
  05/02/2018    18   SERVICES                           ADVANCED DISPOSAL                   5734 COLUMBIA ROAD                                                                        GROVETOWN       GA        30813                          $7,132.69 General Unsecured                   Fibrant, LLC                18-10274
  07/25/2018    60   AdvanSix, Inc                      Attn John M. Quitmeyer              300 Kimball Drive Suite 101                                                               Parsippany      NJ        07054                          $1,015.54 General Unsecured                   Fibrant, LLC                18-10274
                     ALLEYKAT EQUIPMENT &
  06/19/2018    44   PARTS                                                                  113 SOUTH RAILROAD STREET                                                                 MIDVILLE        GA        30441                        EXPUNGED General Unsecured                      Fibrant, LLC                18-10274
                     American Express Travel Related
  03/15/2018    2    Services Company, Inc.             Becket and Lee LLP                  PO Box 3001                                                                               Malvern         PA        19355-0701                       $679.00 General Unsecured                   Fibrant, LLC                18-10274
  07/31/2018    84   Ampleton Group Limited             Ampleton Group Ltd                  Priors Court                       Churchmere Road                  Sutton Courtenay      NR Abingdon               OX14 4AQ United Kingdom     $3,363,026.00 General Unsecured                  Fibrant, LLC                18-10274

  07/31/2018    99   Arch Specialty Insurance Company Francine Petrosino, Legal Assistant   210 Hudson Street, Suite 300                                                              Jersey City     NJ        07311                        EXPUNGED Admin Priority                         Fibrant, LLC                18-10274
                     AUGUSTA CHILLER SERVICE
  07/25/2018    61   INC                                                                    240 CAMILLA AVE                                                                           AUGUSTA         GA        30907                          $4,317.00 General Unsecured                   Fibrant, LLC                18-10274
  07/30/2018    87   Augusta Sulfate Company, LLC      c/o Robert L. Porter                 319 E. Ashley Street                                                                      Douglas         GA        31533                     UNLIQUIDATED Secured                               Fibrant, LLC                18-10274
  07/30/2018    87   Augusta Sulfate Company, LLC      c/o Robert L. Porter                 319 E. Ashley Street                                                                      Douglas         GA        31533                     UNLIQUIDATED General Unsecured                     Fibrant, LLC                18-10274
                     Austin Maintenance &
  07/20/2018    55   Construction, Inc.                Janet Ayyad Ismail                   3535 Travis Street, Suite 300                                                             Dallas          TX        75204                          $2,784.41 General Unsecured                   Fibrant, LLC                18-10274
  06/12/2018    34   BAIN LARRY R                                                           4655 BRITTANY DRIVE                                                                       EVANS           GA        30809                        EXPUNGED Priority                               Fibrant, LLC                18-10274
  07/25/2018    59   BEAL BILLY M                                                           3740 INVERNESS WAY                                                                        MARTINEZ        GA        30907                        EXPUNGED General Unsecured                      Fibrant, LLC                18-10274
  06/12/2018    38   BELL DAVID J                      DAVID BELL                           256 CHURCH ROAD                                                                           BEECH ISLAND    SC        29842                        EXPUNGED Priority             A                 Fibrant, LLC                18-10274
                     Betty Baxley, Individually and as
                     Personal Representative of the
  07/27/2018    65   Estate of Malcolm M. Baxley       c/o Bealsey Allen Law Firm           Post Office Box 4160                                                                      Montgomery      AL        36103-4160                   $500,000.00 General Unsecured                   Fibrant, LLC                18-10274
                     BLUE RIDGE RAILCAR REPAIR
  07/31/2018    86   LLC                               ERIC W. CROSSMAN                     10060 SKINNER LAKE DRIVE                                                                  JACKSONVILLE    FL        32246                          $4,211.19 General Unsecured                   Fibrant, LLC                18-10274
                                                                                            c/o Smith, Gambrell and Russell,   1230 Peachtree Street, NE,
  06/12/2018    35   BMSI, Inc.                         Attn Brian P. Hall, Esq.            LLP                                Suite 3100                                             Atlanta         GA        30309                        $323,695.24 General Unsecured                   Fibrant, LLC               18-10274
  07/31/2018    78   BOBBY OSTEEN                                                           224 BAY TREE COURT                                                                        AIKEN           SC        29803                        EXPUNGED Priority                               Fibrant, LLC               18-10274
  07/29/2018    83   Brent B. Mullis                    c/o Charles W. Wills, Esq.          PO Box 1620                                                                               Thomson         GA        30824                        EXPUNGED General Unsecured                      Fibrant, LLC               18-10274
  07/31/2018    88   BRINSON GENEVA L                                                       2067 WHARTON DRIVE                                                                        AUGUSTA         GA        30904                        EXPUNGED Priority                               Fibrant, LLC               18-10274
  07/30/2018    68   CAP II B.V.                        Adam Goldberg                       885 Third Avenue                                                                          New York        NY        10022-4834                UNLIQUIDATED Secured                               Fibrant, LLC               18-10274
  07/30/2018    68   CAP II B.V.                        Adam Goldberg                       885 Third Avenue                                                                          New York        NY        10022-4834                UNLIQUIDATED General Unsecured                     Fibrant, LLC               18-10274
  07/30/2018    69   CAP II B.V.                        Adam Goldberg                       885 Third Avenue                                                                          New York        NY        10022-4834                UNLIQUIDATED Secured                               Fibrant South Center, LLC 18-10275
  07/30/2018    69   CAP II B.V.                        Adam Goldberg                       885 Third Avenue                                                                          New York        NY        10022-4834                UNLIQUIDATED General Unsecured                     Fibrant South Center, LLC 18-10275
                                                                                                                                                                                                                                                                                             Evergreen Nylon Recycling,
  07/30/2018    70   CAP II B.V.                        Adam Goldberg                       885 Third Avenue                                                                          New York        NY        10022-4834                UNLIQUIDATED Secured                               LLC                        18-10276
                                                                                                                                                                                                                                                                                             Evergreen Nylon Recycling,
  07/30/2018    70   CAP II B.V.                        Adam Goldberg                       885 Third Avenue                                                                          New York        NY        10022-4834                UNLIQUIDATED General Unsecured                     LLC                        18-10276
                                                                                                                                                                                                                                                                                             Georgia Monomers
  07/30/2018    71   CAP II B.V.                        Adam Goldberg                       885 Third Avenue                                                                          New York        NY        10022-4834                UNLIQUIDATED Secured                               Company, LLC               18-10277
                                                                                                                                                                                                                                                                                             Georgia Monomers
  07/30/2018    71   CAP II B.V.                        Adam Goldberg                       885 Third Avenue                                                                          New York        NY        10022-4834                UNLIQUIDATED General Unsecured                     Company, LLC               18-10277
                                                                                            112 SOUTH MAIN STREET
  06/14/2018    37   CENTURY 3 ENGINEERING LLC                                              SUITE C                                                                                   GREER           SC        29650                         $19,473.89 General Unsecured                   Fibrant, LLC                18-10274
  07/30/2018    82   Charles H. Holley, Jr           c/o Charles W. Wills, Esq.             PO Box 1620                                                                               Thomson         GA        30824                        EXPUNGED General Unsecured                      Fibrant, LLC                18-10274
  07/30/2018    67   Chemicalnvest Holding B.V       Adam J. Goldberg                       885 Third Avenue                                                                          New York        NY        10022-4834                UNLIQUIDATED Secured                               Fibrant, LLC                18-10274
  07/30/2018    67   Chemicalnvest Holding B.V       Adam J. Goldberg                       885 Third Avenue                                                                          New York        NY        10022-4834                UNLIQUIDATED General Unsecured                     Fibrant, LLC                18-10274
                     Chemtrade Chemicals US LLC
                     and Chemtrade Chemicals
  07/27/2018    64   Corporation                     Christopher A. Ward                    222 Delaware Avenue, Suite 1101                                                           Wilmington      DE        19801                      $16,223,767.77 General Unsecured                  Fibrant, LLC                18-10274
  07/31/2018    75   CHERRY BEKAERT                  BONNIE COX                             1029 GREENE STREET                                                                        AUGUSTA         GA        30901                          $14,863.33 General Unsecured                  Fibrant, LLC                18-10274
                     Chevron Phillips Chemical
  04/16/2018    12   Company LP                                                             10001 Six Pines Drive                                                                     The Woodlands   TX        77386                       $5,930,004.46 General Unsecured                  Fibrant, LLC                18-10274
                     Chevron Phillips Chemical
  04/16/2018    12   Company LP                                                             10001 Six Pines Drive                                                                     The Woodlands   TX        77386                              $0.00 Secured                             Fibrant, LLC                18-10274
  06/11/2018    42   Christopher Roland                                                     2275 Darlington Dr                                                                        Augusta         GA        30904                        EXPUNGED General Unsecured                      Fibrant, LLC                18-10274
  07/23/2018    58   CONNAUGHTON GEORGE E                                                   3800 LAUREL STREET                                                                        ST AUGUSTINE    FL        32084                        EXPUNGED Priority                               Fibrant, LLC                18-10274
  05/23/2018    21   Control Southern, Inc           Elaine Decker                          3850 Lakefield Drive                                                                      Suwanee         GA        30004                        $114,439.86 General Unsecured                   Fibrant, LLC                18-10274
                     Covanta Environmental Solutions
  03/26/2018    5    LLC.                            Attn Christian Hobbis                  Covanta Energy LLC                 445 South Street                                       Morristown      NJ        07960                          $1,989.83 General Unsecured                   Fibrant, LLC                18-10274

  05/25/2018    25   Cranston Engineering Group, P.C.                                       452 Ellis Street                                                                          Augusta         GA        30901                          $5,000.00 General Unsecured                   Fibrant, LLC                18-10274

  07/30/2018   81    CSX Transportation, Inc.           c/o Courtney A. McCormick           McGuireWoods LLP                   50 N. Laura Street, Suite 3300                         Jacksonville    FL        32210                          $2,089.56 General Unsecured                   Fibrant, LLC                18-10274
  02/03/2019   105   David Mathews                                                          109 Yaun Road                                                                             North Augusta   SC        29841                         $47,000.00 General Unsecured                   Fibrant, LLC                18-10274
                     DE LAGE LANDEN FINANCIAL                                               1111 OLD EAGLE SCHOOL
  06/18/2018    45   SERVICES                           P. KAHLER                           ROAD                                                                                      WAYNE           PA        19087                          $4,710.32 Secured                             Fibrant, LLC                18-10274
  07/31/2018    80   DEGENNARO PAUL F                                                       114 FOX TRAIL DRIVE                                                                       NORTH AUGUSTA   SC        29860                        EXPUNGED Priority                               Fibrant, LLC                18-10274
                     Department of the Treasury -
  04/12/2018    8    Internal Revenue Service           Internal Revenue Service            P.O. Box 7346                                                                             Philadelphia    PA        19101-7346                   EXPUNGED Priority                               Fibrant, LLC                18-10274
                     Department of the Treasury -                                                                                                                                                                                                                                            Georgia Monomers
  04/16/2018    10   Internal Revenue Service           Internal Revenue Service            P.O. Box 7346                                                                             Philadelphia    PA        19101-7346                   EXPUNGED General Unsecured                      Company, LLC                18-10277
                     Department of the Treasury -
  04/17/2018    13   Internal Revenue Service           Internal Revenue Service            P.O. Box 7346                                                                             Philadelphia    PA        19101-7346                   EXPUNGED Priority                               Fibrant South Center, LLC   18-10275
                     Department of the Treasury -
  04/17/2018    13   Internal Revenue Service           Internal Revenue Service            P.O. Box 7346                                                                             Philadelphia    PA        19101-7346                   EXPUNGED General Unsecured                      Fibrant South Center, LLC   18-10275
                     Department of the Treasury -
  05/08/2018    19   Internal Revenue Service           Internal Revenue Service            P.O. Box 7346                                                                             Philadelphia    PA        19101-7346                   EXPUNGED Priority                A   04/12/2018 Fibrant, LLC                18-10274



In re Fibrant, LLC
Case No. 18-10274 (SDB)                                                                                                                                               Page 1 of 3
                                                                                                                                               Claims Register Report by Name
                                                           Case:18-10274-SDB Doc#:1002 Filed:07/23/21 Entered:07/23/21 15:31:41                                                                                                       Page:5 of 6
               Claim                                                                                                                                                                                                                                                                                              Debtor
  Date Filed    No.                  Name                       Creditor Notice Name               Address 1                       Address 2            Address 3                  City         State      Zip         Country    Claim Amount         Nature        A R   A/R Date          Debtor Name          Number
                       Department of the Treasury -
  05/29/2018    22     Internal Revenue Service          Internal Revenue Service      P.O. Box 7346                                                                     Philadelphia      PA           19101-7346                    $1,381.52 Priority             A     04/12/2018 Fibrant, LLC                18-10274
                       Department of the Treasury -                                                                                                                                                                                                                                   Georgia Monomers
  05/29/2018    23     Internal Revenue Service          Internal Revenue Service      P.O. Box 7346                                                                     Philadelphia      PA           19101-7346                    $1,087.03 General Unsecured A        04/16/2018 Company, LLC                18-10277
                       Department of the Treasury -
  05/29/2018    24     Internal Revenue Service          Internal Revenue Service      P.O. Box 7346                                                                     Philadelphia      PA           19101-7346                        $0.00 General Unsecured A        04/17/2018 Fibrant South Center, LLC   18-10275
                       Department of the Treasury -                                                                                                                                                                                                                                   Georgia Monomers
  10/18/2018   104     Internal Revenue Service          Internal Revenue Service      P.O. Box 7346                                                                     Philadelphia      PA           19101-7346                    $3,712.03 General Unsecured A        04/16/2018 Company, LLC                18-10277
                       Department of the Treasury -
  04/24/2019   108     Internal Revenue Service          Internal Revenue Service      P.O. Box 7346                                                                     Philadelphia      PA           19101-7346                        $0.00 General Unsecured A        04/12/2018 Fibrant, LLC                18-10274
                       Department of the Treasury -
  05/22/2019   109     Internal Revenue Service          Internal Revenue Service      P.O. Box 7346                                                                     Philadelphia      PA           19101-7346                  $129,351.72 Priority             A     04/12/2018 Fibrant, LLC                18-10274
                       Department of the Treasury -
  05/22/2019   109     Internal Revenue Service          Internal Revenue Service      P.O. Box 7346                                                                     Philadelphia      PA           19101-7346                   $12,396.72 General Unsecured A        04/12/2018 Fibrant, LLC                18-10274
                       Department of the Treasury -
  07/16/2019   110     Internal Revenue Service          Internal Revenue Service      P.O. Box 7346                                                                     Philadelphia      PA           19101-7346                        $0.00 General Unsecured A        04/12/2018 Fibrant, LLC                18-10274
                       Department of Treasury- Internal
  04/25/2019   107     Revenue Service                                                 P O Box 7346                                                                      Philadelphia      PA           19101-7346                    $1,381.52 General Unsecured A        05/29/2018 Fibrant, LLC                18-10274
                       Department of Treasury- Internal
  04/25/2019   107     Revenue Service                                                 P O Box 7346                                                                      Philadelphia      PA           19101-7346                       $0.00 Priority              A     05/29/2018 Fibrant, LLC                18-10274
  06/12/2018   43      EADY JEMERAL R                    JEMERAL EADY                  507 ARTMUS ST                                                                     AUGUSTA           GA           30901                       EXPUNGED Priority                                 Fibrant, LLC                18-10274
                       Environmental Operating Solutions
  03/23/2018    4      Inc.                                                            160 Macarthur Blvd, Suite 6                                                       Bourne            MA           02532                         $8,973.90 General Unsecured                     Fibrant, LLC                18-10274
  06/21/2018    46     EZELL COLLEEN L                                                 409 RABBIT RD                                                                     JACKSON           SC           29831                       EXPUNGED General Unsecured                        Fibrant, LLC                18-10274

  06/06/2018    32     FIBERLITE TECHNOLOGIES INC                                      3605 E. 25TH STREET                                                               JOPLIN            MO           64804                             $0.00 General Unsecured                     Fibrant, LLC                18-10274
  07/30/2018    66     Fibrant B.V.                    Adam J. Goldberg                885 Third Avenue                                                                  New York          NY           10022-4834               UNLIQUIDATED Secured                                 Fibrant, LLC                18-10274
  07/30/2018    66     Fibrant B.V.                    Adam J. Goldberg                885 Third Avenue                                                                  New York          NY           10022-4834               UNLIQUIDATED General Unsecured                       Fibrant, LLC                18-10274
  05/30/2018    26     Flint Hills Resources, LP       Arnold Lenz                     4111 E 37th Street North                                                          Wichita           KS           67220                       $713,111.80 General Unsecured                     Fibrant, LLC                18-10274
  07/26/2018    62     GARRETT ALRENA                                                  2458 DUBLIN DRIVE                                                                 AUGUSTA           GA           30906                       EXPUNGED Priority                                 Fibrant, LLC                18-10274
  07/27/2018    73     GATX Corporation                Brian Glassberg                 233 S Wacker Dr                                                                   Chicago           IL           60606                    UNLIQUIDATED General Unsecured                       Fibrant, LLC                18-10274
  07/27/2018    77     GATX Corporation                Brian Glassberg                 233 S Wacker Dr                                                                   Chicago           IL           60606                     $4,729,900.00 General Unsecured                     Fibrant, LLC                18-10274
                       Georgia Department of Natural
                       Resources, Environmental                                        2 Martin Luther King Jr. Drive,
  05/30/2018    27     Protection Division             Amy Mussler                     Suite 1054 East                                                                   Atlanta           GA           30334                      $2,126,200.00 Secured                              Fibrant, LLC                18-10274
                       Georgia Department of Natural
                       Resources, Environmental                                        2 Martin Luther King Jr. Drive,
  05/30/2018    28     Protection Division             Amy Mussler                     Suite 1054 East                                                                   Atlanta           GA           30334                             $0.00 General Unsecured                     Fibrant, LLC                18-10274
                       Georgia Department of Natural
                       Resources, Environmental                                        2 Martin Luther King Jr. Drive,
  07/23/2018    57     Protection Division             Amy Mussler                     Suite 1054 East                                                                   Atlanta           GA           30334                    UNLIQUIDATED General Unsecured                       Fibrant, LLC                18-10274
                                                       c/o Courtney McCormick
  05/30/2018    30     Georgia Power Company           McGuireWoods, LLP               50 North Laura Street, Suite 3300                                                 Jacksonville      FL           32202                       $124,945.46 General Unsecured                     Fibrant, LLC                18-10274
                       Georgia Self-Insurers Guaranty                                  303 Peachtree Street NE Suite
  07/27/2018    85     Trust Fund                                                      3500                                                                              Atlanta           GA           30308                       EXPUNGED Secured                                  Fibrant, LLC                18-10274
                       Georgia Self-Insurers Guaranty                                  303 Peachtree Street NE Suite
  07/27/2018    85     Trust Fund                                                      3500                                                                              Atlanta           GA           30308                       EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
  04/23/2018    16     Geosyntec Consultants, Inc      Christopher Bennett, Esq        1111 Broadway Floor 6                                                             Oakland           CA           94607                         $7,393.86 General Unsecured                     Fibrant, LLC                18-10274
                       Great Northern Insurance
  06/18/2018    41     Company                         c/o CHUBB                       436 Walnut Street                                                                 Philadelphia      PA           19106                       EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
                       GreatAmerica Financial Services
  04/13/2018    9      Corporation                     Attn Peggy Upton                PO Box 609                                                                        Cedar Rapids      IA           52406                         $2,619.23 General Unsecured                     Fibrant, LLC                18-10274
  06/12/2018    36     GRIFFIN GEAR INC                                                131 RAILROAD STREET                                                               ROEBUCK           SC           29376                        $43,050.00 General Unsecured                     Fibrant, LLC                18-10274
                                                                                       460 GEES MILL BUSINESS
  06/18/2018    40     HAVER & BOECKER USA                                             COURT                                                                             CONYERS           GA           30013                         $1,513.32 General Unsecured                     Fibrant, LLC                18-10274
                                                                                       1358 W NEWPORT CENTER
  03/19/2018    3      HOERBIGER SERVICE INC                                           DRIVE                                                                             DEERFIELD BEACH   FL           33442                       EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
  07/30/2018    74     Hoerbiger Service Inc                                           1348 W. Newport Ctr Dr                                                            Deerfield Beach   FL           33442                        $28,526.48 General Unsecured                     Fibrant, LLC                18-10274

  06/07/2018    33     HORNE LABEL & PRINTING LLC SUZANNE HORNE                        312 S CHERRY RD                                                                   ROCK HILL         SC           29732                             $0.00 Admin Priority                        Fibrant, LLC                18-10274

  06/07/2018    33     HORNE LABEL & PRINTING LLC SUZANNE HORNE                        312 S CHERRY RD                                                                   ROCK HILL         SC           29732                        $30,704.66 General Unsecured                     Fibrant, LLC                18-10274
  06/15/2018    39     IDG USA LLC                Attn TJ Gilmore                      2100 The Oaks Parkway               PO Box 1127                                   Belmont           NC           28012                          $897.07 General Unsecured                      Fibrant, LLC                18-10274
                                                                                                                                                                                                        31193−494
  03/26/2018    6      IntelliTrans, LLC                                               PO Box 934941                                                                     Atlanta           GA           1                           EXPUNGED General Unsecured                        Fibrant, LLC                18-10274

  04/16/2018    11     James W. Price, Jr.                                             563 Plantation Dr                                                                 North Augusta     SC           29841                       EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
  05/30/2018    29     Koch Rail, LLC                  Arnold Lenz                     4111 E 37th Street North                                                          Wichita           KS           67220                       $125,400.00 General Unsecured                     Fibrant, LLC                18-10274
  07/26/2018    63     Linde Gas North America, LLC    Attn Robert Griffin             200 Somerset Corporate Blvd.                                                      Bridgewater       NJ           08807                      $2,328,459.20 General Unsecured                    Fibrant, LLC                18-10274
  06/27/2018    48     LONG WILLIAM K                                                  105 LONG RD                                                                       SALUDA            SC           29138                       EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
                       MARK CLARK RICHARD AKA
  07/27/2018    72     RICHARD MARK CLARK                                              3926 OLD TRAIL ROAD                                                               MARTINEZ          GA           30907                       EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
                                                                                       AVENUE HERRMANN -
  07/31/2018    79     MARSH SA/NV                                                     DEBROUX 2                                                                         BRUSSELS                       1160         BELGIUM        EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
                                                                                       527 RICHMOND HILL RD W APT
  08/02/2018   101     MCGAHEE MICHAEL K               MICHAEL K MCGAHEE               C-1                                                                               AUGUSTA           GA           30906                       EXPUNGED General Unsecured                        Fibrant, LLC                18-10274
                       Mobile Mini Tank & Pump                                                                                                                                                          85008−692
  07/10/2018    52     Solutions                       Attn Legal Dept                 4646 E. Van Buren St., Suite 400                                                  Phoenix           AZ           7                             $1,043.28 General Unsecured                     Fibrant, LLC                18-10274




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                                                                                                                                                        Claims Register Report by Name
                                                             Case:18-10274-SDB Doc#:1002 Filed:07/23/21 Entered:07/23/21 15:31:41                                                                                                       Page:6 of 6
               Claim                                                                                                                                                                                                                                                                                               Debtor
  Date Filed    No.                   Name                       Creditor Notice Name                       Address 1                       Address 2            Address 3                  City        State      Zip   Country    Claim Amount       Nature         A R   A/R Date          Debtor Name          Number
                       National Union Fire Insurance
                       Company of Pittsburgh, PA on
                       Behalf of the Entities Listed on
  07/30/2018    89     Exhibit A                          Kevin Larner                          80 Pine Street, 13th Floor                                                        New York         NY           10005                 EXPUNGED General Unsecured                       Fibrant, LLC                18-10274
                       National Union Fire Insurance
                       Company of Pittsburgh, Pa. on
                       Behalf of the Entities Listed on   Kevin Larner, Authorized
  08/01/2018   100     Exhibit A                          Representative                        80 Pine Street, 13th Floor                                                        New York         NY           10005              UNLIQUIDATED General Unsecured A         07/30/2018 Fibrant, LLC                18-10274
                       PAYNELESS ENTERPRISES
  07/08/2018    51     LLC                                                                      4218 GREEN IVEY LANE                                                              MARTINEZ         GA           30907                   $2,681.25 General Unsecured                    Fibrant, LLC               18-10274
                                                                                                                                                                                                                                                                                       Evergreen Nylon Recycling,
  07/31/2018    91     PCS Nitrogen Fertilizer, L.P.      c/o Brian E. Johnson                  1101 Skokie Boulevard, Suite 400                                                  Northbrook       IL           60062                       $0.00 General Unsecured                    LLC                        18-10276

  07/31/2018    92     PCS Nitrogen Fertilizer, L.P.      c/o Brian E. Johnson                  1101 Skokie Boulevard, Suite 400                                                  Northbrook       IL           60062                       $0.00 General Unsecured                    Fibrant South Center, LLC   18-10275

  07/31/2018    93     PCS Nitrogen Fertilizer, L.P.      c/o Brian E. Johnson                  1101 Skokie Boulevard, Suite 400                                                  Northbrook       IL           60062                       $0.00 General Unsecured                    Fibrant, LLC                18-10274
                                                                                                                                                                                                                                                                                       Georgia Monomers
  07/31/2018    95     PCS Nitrogen Fertilizer, L.P.      c/o Brian E. Johnson                  1101 Skokie Boulevard, Suite 400                                                  Northbrook       IL           60062                       $0.00 General Unsecured                    Company, LLC                18-10277

  07/31/2018    94     PCS Nitrogen, Inc.                 c/o Brian E. Johnson                  1101 Skokie Boulevard, Suite 400                                                  Northbrook       IL           60062                 $606,253.76 General Unsecured                    Fibrant, LLC                18-10274
                                                                                                                                                                                                                                                                                       Georgia Monomers
  07/31/2018    96     PCS Nitrogen, Inc.                 c/o Brian E. Johnson                  1101 Skokie Boulevard, Suite 400                                                  Northbrook       IL           60062                       $0.00 General Unsecured                    Company, LLC                18-10277

  07/31/2018    97     PCS Nitrogen, Inc.                 c/o Brian E. Johnson                  1101 Skokie Boulevard, Suite 400                                                  Northbrook       IL           60062                       $0.00 General Unsecured                    Fibrant South Center, LLC 18-10275
                                                                                                                                                                                                                                                                                       Evergreen Nylon Recycling,
  07/31/2018    98     PCS Nitrogen, Inc.                 c/o Brian E. Johnson                  1101 Skokie Boulevard, Suite 400                                                  Northbrook       IL           60062                       $0.00 General Unsecured                    LLC                        18-10276

  07/27/2018   76      Praxair Inc                        Attn Catherine E.M. Kortlandt, Esq.   Law Dept., Praxair, Inc.           10 Riverview Drive                             Danbury          CT           06810                      W/D General Unsecured                       Fibrant, LLC                18-10274
  08/03/2018   102     R GLENN HOFFMAN                                                          327 WILLIAM STREET                                                                SOMERVILLE       NJ           08876                 EXPUNGED Secured                                 Fibrant, LLC                18-10274
  08/03/2018   102     R GLENN HOFFMAN                                                          327 WILLIAM STREET                                                                SOMERVILLE       NJ           08876                 EXPUNGED General Unsecured                       Fibrant, LLC                18-10274
                                                          Metz Lewis Brodman Must OKeefe
  06/29/2018    49     Rawson, Inc.                       LLC                                   535 Smithfield Street, Suite 800                                                  Pittsburgh       PA           15222                  $64,006.50 General Unsecured                    Fibrant, LLC                18-10274
                       Richmond County Tax
  04/18/2018    14     Commissioner                       Steven B. Kendrick                    535 Telfair St., Room 100                                                         Augusta          GA           30901                 EXPUNGED General Unsecured                       Fibrant, LLC                18-10274
                       Richmond County Tax
  04/18/2018    15     Commissioner                       Steven B. Kendrick                    535 Telfair St., Room 100                                                         Augusta          GA           30901                 EXPUNGED General Unsecured                       Fibrant, LLC                18-10274
                       Richmond County Tax
  04/30/2018    17     Commissioner                                                             535 Telfair Street, Room 100                                                      Augusta          GA           30901                       $0.00 General Unsecured A       04/18/2018 Fibrant, LLC                18-10274
                       Richmond County Tax
  04/30/2018    17     Commissioner                                                             535 Telfair Street, Room 100                                                      Augusta          GA           30901                 $590,599.20 Priority          A       04/18/2018 Fibrant, LLC                18-10274
  03/20/2018    7      Safety-Kleen/CleanHarbors                                                600 Longwater Drive                                                               Norwell          MA           02061                   $4,611.00 General Unsecured                    Fibrant, LLC                18-10274
  07/20/2018    56     SAPP JR RALPH H                                                          1823 COURTNEY DR                                                                  NORTH AUGUSTA    SC           29841                 EXPUNGED General Unsecured                       Fibrant, LLC                18-10274
                       SMBC Rail Services LLC, on
                       Behalf of American Railcar
  07/31/2018   90      Leasing LLC                        c/o Katy Drechsel, Chief Legal Officer 5600 Mexico Road, Suite 2                                                        St. Peters       MO           63376               $1,650,000.00 General Unsecured                    Fibrant, LLC                18-10274
  06/06/2018   31      SOUTHEAST RAILCAR INC              TERRI SATTERFIELD                      PO BOX 1204                                                                      AMERICUS         GA           31709                  $27,237.63 General Unsecured                    Fibrant, LLC                18-10274
  03/25/2019   106     STONESTREET THOMAS A                                                      197 MARKS WALDEN ROAD                                                            BLYTHE           GA           30805              UNLIQUIDATED Priority                               Fibrant, LLC                18-10274
                       THOMPSON INDUSTRIAL
  07/02/2018    50     SERVICES LLC                                                             104 N MAIN STREET                                                                 SUMTER           SC           29150                  $20,944.63 General Unsecured                    Fibrant, LLC                18-10274

  03/13/2018    1      Veenschoten & Company, Inc.        Jan Hunter Veenschoten & Co., Inc. 3 Riverchase Office Plaza, Ste 120                                                   Birmingham       AL           35244                 $152,010.00 General Unsecured                    Fibrant, LLC                18-10274
                       West Health Advocate Solutions,
  07/23/2018    54     Inc.                                                                     11808 Miracle Hills Drive                                                         Omaha            NE           68154                 EXPUNGED General Unsecured                       Fibrant, LLC                18-10274
  07/17/2018    53     WILLIAMS RONALD H                                                        1024 TODD AVENUE                                                                  NORTH AUGUSTA    SC           29841                 EXPUNGED Priority                                Fibrant, LLC                18-10274
  05/17/2018    20     Windstream                         Attn Kathy Storla                     929 Marthas Way                                                                   Hiawatha         IA           52233                   $4,158.28 General Unsecured                    Fibrant, LLC                18-10274




In re Fibrant, LLC
Case No. 18-10274 (SDB)                                                                                                                                          Page 3 of 3
